Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 1 of 12




                                       EXHIBIT 20
         Affidavit of Steven Lazrove, M.D.
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 2 of 12




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



DAVIDS. L. PARKS                              NO. 3:09CV604(VLB)
     Plaintiff

      vs.
THERESA LANTZ, eta/.
    Defendants                                JUNE 2, 2014

                       AFFIDAVIT OF STEVEN LAZROVE, M.D.

              I, Steven Lazrove, hereby aver that:

       1.     I am a psychiatrist and presently work as a Principal Psychiatrist in

the Whiting Forensic Division at Connecticut Valley Hospital, in Middletown,

Connecticut. I have been a psychiatrist for 25 years, and I am board certified in

Psychiatry. I am licensed to practice in California and Connecticut. See Exh. 21,

Curriculum Vitae of Steven Lazrove, M.D, attached.

       2.    I served as statewide Assistant Chief of Psychiatric Services, for the

University of Connecticut/Correctional Managed Health Care from December 2007

through October 2012.

      3.     From August 2007 through December 2007, I worked as the Locum

Tenens Psychiatrist at Garner Correctional Institution in Newtown, Connecticut.

      4.     I recall David Parks well. I treated him in the fall of 2007 while he was

resident at the Garner C. I.
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 3 of 12



      5.     In fact, Mr. Parks named me, among thirty-seven assorted others, as

a defendant in the first two iterations of his Complaint in Parks v. Lantz, No.

3:09cv604(VLB).    SeeDoc.'s 1 and 17.

      6.     Mr. Parks had alleged in his complaints that I, as a "U-Conn-DOC

attack dog" had damaging his immune system when I "attacked" his Xanax,"

telling him that I was "going to take [him] off Xanax, then reduce the Klonopin,

and take [him] off that- then place [him] on Zoloft and Prozac- not even for

anxiety/panic attack." SeeDoc.17-3, pp. 25-26; Doc.17-4, pp. 6, 7-10,20,25-26.

Mr. Parks threatened that if I did not reinstate his prescription for Xanax he was

going to call the "O.P.A." See Doc. 17-3, pp. 25-26.

      7.     The Garner C. I. incarcerates both pretrial and sentenced offenders.

The Department of Correction has consolidated the care and treatment for adult

male offenders with significant mental health issues at this level 4 high-security

facility. Based upon their mental health needs, offenders from throughout the

Connecticut correctional system are assigned here.

      8.     The Garner C. I.'s mental health treatment program is designed to

return as many of these offenders as is possible to the ability to function in either

a general population prison setting or ultimately to life in the community.

      9.     At the outset of my treatment of Mr. Parks, I reviewed Mr. Parks'

Department of Correction Medical Record, with particular attention to the

psychiatry notes. See Exh. 22, excerpts from DOC Medical Records, pp. 1-23.

      10.    I learned from the Medical Record that at various times during the

course of Mr. Parks' imprisonment he had been diagnosed with DSM Axis I



                                          2
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 4 of 12



Bipolar Disorder NOS and Anxiety Disorder NOS, and an Axis II Personality

Disorder NOS. See Ex h. 22, pp. 3-5.

       11.   The Medical Record also described Mr. Parks as having a "history of

opioid dependence, a "dramatizing type," and always seeking benzodiazepines."

See Exh. 22, pp. 3, 5.

      12.    The Medical Record revealed as well that on October 18, 2007, while

at MacDougall-Walker C. I., Mr. Parks had been discovered, and admitted to,

hoarding Xanax, a benzodiazepine. See Exh. 22, pp. 8, 9. This caused him to be

placed in a Restrictive Housing Unit. See Exh. 22, p. 8.

      13.    It appeared that Mr. Parks had been prescribed Xanax 2mg PO BID

since at least as far back as July 2007. See Exh. 22, pp. 7, 19.

      14.    The July and August 2007 physician orders required that Mr. Parks'

Xanax be crushed and suspended in liquid before administration. The

requirement that Mr. Parks be administered his Xanax in this manner indicated

that there had been issues related to medication diversion before the October 18,

2007 incident.

      15.    It is common for inmates to stockpile medications such as Xanax.

This can be done through "cheeking" the medications, or even chewing them to a

paste, to be regurgitated and formed into a small mass. The product is then sold

or bartered for other items.

      16.    Alprazolam (brand name Xanax) is the most prescribed and the most

misused benzodiazepine on the United States retail market. There is a substantial

risk of abuse and dependence in both patients and non-medical users of



                                         3
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 5 of 12




alprazolam. The pharmacological properties of alprazolam, high-affinity binding,

high potency, rapid onset of action, all contribute to the abuse and misuse

potential of alprazolam.

      17.    Xanax has a rapid onset of action and hence can provide rapid

symptomatic relief. Ninety percent of peak effects are achieved within the first

hour for panic disorder, and full peak effects occur in approximately 1.5 hours.

      18.    While Xanax is effective in the relief of moderate to severe anxiety

and panic attacks, it is not a first-line treatment for anxiety and panic disorder

because of concerns related to tolerance, dependence, and abuse.

      19.    All benzodiazepines require particular attention and caution when

used in drug-dependent individuals such as Mr. Parks because of the extremely

high risk of diversion and abuse, and Mr. Parks identified himself as being

"chemically dependent" as early as 1976. See Exh. 22, p. 3.

      20.    Due to the many serious problems associated with the abuse of

Xanax, it should almost never be prescribed chronically. Rather, it is most

efficacious when prescribed prophylactically for discrete events; e.g., to quell the

anxiety associated with having to cross a bridge or taking an airplane flight.

      21.    I interviewed Mr. Parks on November 9, 2007, at the beginning of my

treatment of him. See Exh. 22, pp. 10-11.

      22.    Mr. Parks came to the interview in a hostile manner. He was very

confrontational, entitled, and defiant. At the outset of the interview, when I asked

him why he was taking Xanax, he threatened to call the Office of Protection and

Advocacy for Persons with Disabilities (OP&A) if I changed his dose. Mr. Parks'



                                          4
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 6 of 12




speech was loud and threatening. He began a wringing of the hands when the

possibility of changing Xanax was discussed. See Exh. 22, pp. 10-11.

       23.   Mr. Parks' reported that he had panic attacks and possibly panic

disorder, that he believed he was managed with acceptable efficacy on Xanax

2mg BID. This medical regimen made no sense to me from a pharmacologic

perspective. See Exh. 22, pp. 10-11.

      24.    The half-life of Xanax is short, providing about four hours of

coverage. Thus, even though Mr. Parks had no effective coverage for all but four

of his waking hours, he was reporting no panic situations. This was not

congruent with the known dose-effect relationship of this medication. See Exh.

22, pp. 10-11.

      25.    Additionally, the use of Xanax has been reported to increase

depression. Since Mr. Parks was about to start treatment for his Hepatitis C with

Interferon, another depressogenic agent, I believed there was excellent

justification for discontinuing its use. See Exh. 22, pp. 10-11.

      26.    Mr. Parks' report of panic attacks that were successfully treated by a

pharmacologic regimen that is extremely unlikely to provide successful treatment

suggested either a) Mr. Parks was malingering or b) Mr. Parks was dependent

upon Xanax. I concluded that Mr. Parks' presentation was most consistent with

both. See Exh. 22, p. 11.

      27.    Therefore, I decided to taper the Xanax over a period of 1 to 2 weeks

and provide cross-benzodiazepine coverage with Klonopin (generic name




                                          5
     Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 7 of 12



clonazepam), thereby ensuring 24 hour coverage of anxiety attacks, and serving

to prevent withdrawal symptoms. See Exh. 22, pp. 11, 22-23.

      28.    When I presented this plan to Mr. Parks, he became hostile,

threatened once again to call OP&A, and threatened to sue me. I responded by

stating that I would wait several days to hear from OP&A before I changed the

medication. See Exh. 22, pp. 11, 21-23.

      29.    I spoke with Mr. Parks again on November 12, 2007. I told him that I

had not heard from OP&A and that I would begin to taper his Xanax as part of a

cross-titration to Klonopin. Mr. Parks was extremely upset and became

threatening. I wrote the medical order nonetheless. See Exh. 22, pp. 11, 21-23.

      30.    Also on November 12, 2007, when I sought Mr. Parks' consent for

treatment with Klonopin, a psychoactive medication, he refused to sign the

consent form. See Exh. 22, p. 12.

      31.    Klonopin (generic name, clonazepam) is another benzodiazepine

drug having anxiolytic, anticonvulsant, muscle relaxant, sedative, and hypnotic

properties. Klonopin is a long-acting benzodiazepine with a gradual onset of

action that does not stimulate drug-craving as much as rapid onset of action

medication, such as Xanax. Hence although it has considerable potential for

dependence and abuse, the potential is less than with Xanax.

      32.    Common adverse effects include drowsiness and motor impairment.

Less common adverse effects include confusion, irritability and aggression,

psychomotor agitation, and impaired motor function, such as impaired balance

and dizziness. Possible side effects include disinhibition, suicidal ideation (rare),



                                          6
       Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 8 of 12



skin rash, dizziness, lightheadedness, unsteadiness, and vertigo. Paradoxical

reactions associated with Klonopin include aggression, rage, hostility, mania,

agitation, hyperactivity and restlessness.

        33.   While Klonopin may be prescribed for anxiety disorders such as

panic disorder, selective serotonin reuptake inhibitors (SSRis) are the treatment

of choice for panic disorder.

        34.   On November 21,2007, Mr. Parks complained to a social worker

about my change to his medication. "That quack decreased my Xanax. I will get

the federal monitors in here." See Exh. 22, p. 13.

        35.   He continued to express his anger over my change to his medication

to a numberofotherstaff. SeeExh. 22, pp.14, 16, 17.

        36.   On December 10, 2007, I had another meeting with Mr. Parks. He

 reported that he was "sweaty" and unable to sleep, stating "I don't do well

without my Xanax. My Hep C treatment was put on hold." See Ex h. 22, pp. 13-

 14.

        37.   Actually, it was Mr. Parks himself who expressed reluctance to start

the Interferon treatment because of increased anxiety, decreased sleep, and

increased sweating which he attributed to the discontinuance of the Xanax. See

Exh. 22, p. 16.

        38.   I had observed Mr. Parks carefully during his casual activities on the

cell block. He always walked in a confident and determined manner. He had

frequent, casual interactions with other inmates. In short, he showed no

evidence of anxiety or panic. Yet on this day, December 10, 2007, he came to the



                                          7
      Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 9 of 12




interview wringing his hands and dramatically wiping the sweat from his

forehead. He took off his glasses and fidgeted in the chair. He maintained poor

eye-contact. He was defiant and uncooperative. See Exh. 22, pp. 14-15.

       39.   Mr. Parks appeared to be conducting a relentless campaign to obtain

Xanax. He had refused to start his Hepatitis C treatment while he "feels this

way". I do not believe that Mr. Parks had a genuine anxiety disorder, as

previously explained. If he did not want to take the Hepatitis C treatment, then

there was no reason for him to be at Garner. I strongly believed Mr. Parks to be

malingering to obtain medication, specifically benzodiazepines. See Exh. 22, p.

15.

       40.   I determined that I would continue Mr. Parks on Klonopin 1mg po

twice daily for 30 days, pending additional observation. Mr. Parks refused

treatment with selective serotonin reuptake inhibitors (SSRis), the treatment of

choice for panic disorder. See Exh. 22, p. 15.

       41.   In the course of treating physician for Mr. Parks, I diagnosed him

with severe/extreme anti-social personality disorder (ASPD).

       42.   Antisocial personality disorder, as defined in the DSM-IV-TR (2000)

and DSM-V (2012) 1 is characterized by a pervasive pattern of disregard for, or

violation of, the rights of others. There may be an impoverished moral sense or

conscience and a history of crime, legal problems, and impulsive and aggressive

behavior. This diagnosis has been referred to, or may include what is referred

to, as psychopathy or sociopathy, though distinctions are sometimes made.


1
 DSM refers to the Diagnostic and Statistical Manual, used in the practice of
medicine.
                                         8
    Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 10 of 12



      43.      The (DSM-IV-TR), defines ASPD (in Axis II Cluster B):


      A) There is a pervasive pattern of disregard for and violation of the rights of
      others occurring since age 15 years, as indicated by three or more of the
      following:

            1. failure to conform to social norms with respect to lawful behaviors
               as indicated by repeatedly performing acts that are grounds for
               arrest;
            2. deception, as indicated by repeatedly lying, use of aliases, or
               conning others for personal profit or pleasure;
            3. impulsivity or failure to plan ahead;
            4. irritability and aggressiveness, as indicated by repeated physical
               fights or assaults;
            5. reckless disregard for safety of self or others;
            6. consistent irresponsibility, as indicated by repeated failure to sustain
               consistent work behavior or honor financial obligations;
            7. lack of remorse, as indicated by being indifferent to or rationalizing
               having hurt, mistreated, or stolen from another;

      B) The individual is at least age 18 years.

      C) There is evidence of conduct disorder with onset before age 15 years.

      D) The occurrence of antisocial behavior is not exclusively during the
      course of schizophrenia or a manic episode.


      44.      ASPD falls under the dramatic/erratic cluster of personality

disorders. DSM-V retains the diagnosis antisocial personality disorder, but it is

no longer on Axis II, as the Axis system for recording mental illness has been

abandoned.

      45.      ASPD is considered to be among the most difficult personality

disorders to treat. Because of their very low or absent capacity for remorse,

individuals with ASPD often lack sufficient motivation and fail to see the costs

associated with antisocial acts. They may only simulate remorse rather than truly

commit to change: they can be seductively charming and dishonest, and may

                                           9
    Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 11 of 12



manipulate staff and fellow patients during treatment. Studies have shown that

outpatient therapy is not likely to be successful. However the extent to which

persons with ASPD are entirely unresponsive to treatment may have been

exaggerated.

      46.   No medications have been approved by the FDA to treat ASPD,

although certain psychiatric medications may alleviate conditions sometimes

associated with the disorder, such as aggression. These medications include

antipsychotic, antidepressant and mood-stabilizing medications.




                                        10
      Case 3:09-cv-00604-VAB Document 219-22 Filed 06/09/14 Page 12 of 12




       I hereby swear that the foregoing is true and correct to the best of my knowledge,

information, and belief..

       Signed under the pains and penalties of perjury, this the 2nd day of June, 2014.


                                                  ~~ ~
                                                  steVenLaZrOVe~




                                             11
